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 1   defendant in a speedy trial; (ii) failure to grant the continuance

 2   would be likely to make a continuation of the proceeding impossible,

 3   or result in a miscarriage of justice; and (iii) failure to grant the

 4   continuance would unreasonably deny defendant continuity of counsel

 5   and would deny defense counsel the reasonable time necessary for

 6   effective preparation, taking into account the exercise of due

 7   diligence.

 8        THEREFORE, FOR GOOD CAUSE SHOWN:

 9        1.      The trial in this matter is continued from May 25, 2021 to

10   October 5, 2021 at 8:30 a.m.      The status conference hearing is

11   continued to September 13, 2021 at 1:30 p.m.

12        2.      The time period of May 25, 2021 to October 5, 2021,

13   inclusive, is excluded in computing the time within which the trial

14   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

15   and (B)(iv).

16        3.      Nothing in this Order shall preclude a finding that other

17   provisions of the Speedy Trial Act dictate that additional time

18   periods are excluded from the period within which trial must

19   commence.    Moreover, the same provisions and/or other provisions of

20   the Speedy Trial Act may in the future authorize the exclusion of

21   additional time periods from the period within which trial must

22   commence.

23        IT IS SO ORDERED.

24
      April 27, 2021
25
      DATE                                    THE HONORABLE DAVID O. CARTER
26                                            UNITED STATES DISTRICT JUDGE
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